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                                     IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MARYLAND
                                             (SOUTHERN DIVISION)


PRISCA O. OBELEAGU, individually and on
behalf of all others similarly situated,

                        Plaintiff,

                                                            CIVIL ACTION NO: 8:18-cv-00392-PX
v.

NAVIENT SOLUTIONS, LLC, NAVIENT
CORPORATION, and SLM PRIVATE
CREDIT STUDENT LOAN TRUST 2005-A,

                        Defendants.


                           ANSWER OF DEFENDANT NAVIENT CORPORATION

             Defendant Navient Corporation (“Navient Corp.”), by and through undersigned counsel,

hereby files its Answer and Affirmative Defenses to the Complaint of plaintiff Prisca O.

Obeleagu (“Plaintiff”), and states as follows:

                                            I.    INTRODUCTION

             1.         Answering Paragraph 1 of the Complaint, Navient Corp. admits that Plaintiff

purports to bring this supposed class action for alleged violations of the Maryland Consumer

Protection Act (“MCPA”), MD Code, Commercial Law, § 13-101, et seq., the Maryland

Consumer Debt Collection Act (“MCDCA”), MD Code, Commercial Law, § 14-204, et seq., and

Maryland Collection Agency Licensing Act (“MCALA”), MD Code, Business Regulation, § 7-

101, et seq., and Md. Code Ann., Corps. Assn’s § 12-902, but denies any and all violations,

liability and/or damages. Except as expressly stated, Navient Corp. denies each and every other

allegation set forth therein.




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             2.         Answering Paragraph 2 of the Complaint, Navient Corp. admits that it is a

holding company, which does not engage in loan servicing or collection activity. Except as

expressly admitted, Navient Corp. denies the allegations therein.

                                            II.          JURISDICTION

             3.         Answering Paragraph 3 of the Complaint, Navient Corp. states that this Court has

subject matter jurisdiction. Except as expressly stated, Navient Corp. denies each and every

other allegation set forth therein.

             4.         Answering Paragraph 4 of the Complaint, Navient Corp. states that this Court has

personal jurisdiction. Except as expressly stated, Navient Corp. denies each and every other

allegation set forth therein.

             5.         Answering Paragraph 5 of the Complaint, Navient Corp. states that it is a holding

company, which does not engage in loan servicing or collection activity. Except as expressly

admitted, Navient Corp. denies the allegations set forth therein.

                                                  III.     PARTIES

             6.         Answering Paragraph 6 of the Complaint, Navient Corp. states that it is without

sufficient knowledge or information to form a belief as to the truth of the allegations set forth

therein and, on that basis, denies each and every allegation set forth therein.

             7.         Answering Paragraph 7 of the Complaint, Navient Corp. states that it is a

Delaware Corporation, with its principal place of business at 123 Justison Street, Wilmington,

Delaware, 19801. Navient Corp. states that it is a holding company, which does not engage in

loan servicing or collection activity. Except as expressly admitted, Navient Corp. denies the

allegations set forth therein.

             8.         Answering Paragraph 8 of the Complaint, Navient Corp. admits that it is the

parent company of Navient Solutions, LLC (“NSL”). Navient Corp. states that this paragraph
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contains legal conclusions to which no response is required; to the extent a response is required,

Navient Corp. states that MCDCA speaks for itself and denies any allegations that are

inconsistent therewith.

             9.         Answering Paragraph 9 of the Complaint, Navient Corp. states that certain

persons serve as officers and/or directors for both Navient Corp. and NSL.

             10.        Answering Paragraph 10 of the Complaint, Navient Corp. admits the allegations

set forth therein.

             11.        Answering Paragraph 11 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             12.        Answering Paragraph 12 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             13.        Answering Paragraph 13 of the Complaint, Navient Corp. states that the

allegations therein do not pertain to Navient Corp., and to the extent not expressly admitted,

Navient Corp. denies each and every allegation therein.

                                              RELEVANT FACTS

             14.        Answering Paragraph 14 of the Complaint, Navient Corp. states that this

paragraph contains legal conclusions to which no response is required; to the extent a response is

required, Navient Corp. states that the MCDCA speaks for itself and denies any allegations that

are inconsistent therewith.

             15.        Answering Paragraph 15 of the Complaint, Navient Corp. states that it is without

sufficient knowledge or information to form a belief as to the truth of the allegations set forth

therein and, on that basis, denies each and every allegation set forth therein.




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             16.        Answering Paragraph 16 of the Complaint, Navient Corp. states that it is without

sufficient knowledge or information to form a belief as to the truth of the allegations set forth

therein and, on that basis, denies each and every allegation set forth therein.

             17.        Answering Paragraph 17 of the Complaint, Navient Corp. states that Exhibit 1

speaks for itself and is the best evidence of its content. To the extent the allegations in Paragraph

17 state otherwise, denied.

             18.        Answering Paragraph 18 of the Complaint, Navient Corp. states that it is without

sufficient knowledge or information to form a belief as to the truth of the allegations set forth

therein and, on that basis, denies each and every allegation set forth therein.

             19.        Answering Paragraph 19 of the Complaint, Navient Corp. states that it is without

sufficient knowledge or information to form a belief as to the truth of the allegations set forth

therein and, on that basis, denies each and every allegation set forth therein.

             20.        Answering Paragraph 20 of the Complaint, Navient Corp. states that it is without

sufficient knowledge or information to form a belief as to the truth of the allegations set forth

therein and, on that basis, denies each and every allegation set forth therein.

             21.        Answering Paragraph 21 of the Complaint, Navient Corp. states that it is without

sufficient knowledge or information to form a belief as to the truth of the allegations set forth

therein and, on that basis, denies each and every allegation set forth therein.

             22.        Answering Paragraph 22 of the Complaint, Navient Corp. states that it is without

sufficient knowledge or information to form a belief as to the truth of the allegations set forth

therein and, on that basis, denies each and every allegation set forth therein.




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             23.        Answering Paragraph 23 of the Complaint, Navient Corp. states that it is without

sufficient knowledge or information to form a belief as to the truth of the allegations set forth

therein and, on that basis, denies each and every allegation set forth therein.

             24.        Answering Paragraph 24 of the Complaint, Navient Corp. denies each and every

allegation therein.

             25.        Answering Paragraph 25 of the Complaint, Navient Corp. admits that it is the

parent of NSL and SLM Private Credit Student Loan Trust 2005-A (“SLM Loan Trust”). Except

as expressly admitted, Navient Corp. denies the allegations set forth therein.

             26.        Answering Paragraph 26 of the Complaint, Navient Corp. admits that it is a

holding company, which does not engage in loan servicing or collection activity. Except as

expressly admitted, Navient Corp. denies the allegations therein.

             27.        Answering Paragraph 27 of the Complaint, Navient Corp. admits that it is a

holding company, which does not engage in loan servicing or collection activity. Except as

expressly admitted, Navient Corp. denies the allegations therein.

             28.        Answering Paragraph 28 of the Complaint, Navient Corp. Navient Corp. admits

that it is a holding company, which does not engage in loan servicing or collection activity.

Except as expressly admitted, Navient Corp. denies the allegations therein.

                                        A.     Common Class Allegations

             29.        Answering Paragraph 29 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             30.        Answering Paragraph 30 of the Complaint, Navient Corp. denies the allegations set

forth therein.




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             31.        Answering Paragraph 31 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             32.        Answering Paragraph 32 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             33.        Answering Paragraph 33 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             34.        Answering Paragraph 34 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             35.        Answering Paragraph 35 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             36.        Answering Paragraph 36 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             37.        Answering Paragraph 37 of the Complaint, Navient Corp. denies the allegations set

forth therein.

             38.        Answering Paragraph 38 of the Complaint, Navient Corp. denies the allegations

set forth therein.

                                        IV.     CLASS ALLEGATIONS

             39.        Answering Paragraph 39 of the Complaint, Navient Corp. admits that Plaintiff

purports to bring this action on behalf of herself and on behalf of all others similarly situated.

Navient Corp. denies that any class could be certified in this action.

             40.        Answering Paragraph 40 of the Complaint, Navient Corp. admits that Plaintiff

purports to bring this action on behalf of herself and on behalf of all others similarly situated.

Navient Corp. denies that any class could be certified in this action.


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                                              A.     Numerosity

             41.        Answering Paragraph 41 of the Complaint, Navient Corp. denies the allegations

therein.

                                             B.     Commonality

             42.        Answering Paragraph 42 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             43.        Answering Paragraph 43 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             44.        Answering Paragraph 44 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             45.        Answering Paragraph 45 of the Complaint, Navient Corp. denies the allegations

set forth therein.

                                              C.     Typicality

             46.        Answering Paragraph 46 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             47.        Answering Paragraph 47 of the Complaint, Navient Corp. denies the allegations

set forth therein.

                                               D.     Adequacy

             48.        Answering Paragraph 48 of the Complaint, Navient Corp. admits that Plaintiff

purports to bring this action after investigation, but denies any and all violations, liability and/or

damages. Further, Navient Corp. denies that any class could be certified in this action. Except

as expressly stated, Navient Corp. denies each and every other allegation set forth therein.




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             49.        Answering Paragraph 49 of the Complaint, Navient Corp. admits that Plaintiff

purports to bring this action to address alleged unlawful practices, but denies any and all

violations, liability and/or damages.          Further, Navient Corp. denies that any class could be

certified in this action. Except as expressly stated, Navient Corp. denies each and every other

allegation set forth therein.

             50.        Answering Paragraph 50 of the Complaint, Navient Corp. admits that Plaintiff

purports to pursue relief for the proposed classes, but denies any and all violations, liability

and/or damages. Further, Navient Corp. denies that any class could be certified in this action.

Except as expressly stated, Navient Corp. denies each and every other allegation set forth

therein.

             51.        Answering Paragraph 51 of the Complaint, Navient Corp. admits that Plaintiff

purports to fairly and adequately protect the interests of all class members in the prosecution of

this action, but denies any and all violations, liability and/or damages.      Further, Navient Corp.

denies that any class could be certified in this action. Except as expressly stated, Navient Corp.

denies each and every other allegation set forth therein.

                                      E.     Predominance/Superiority

             52.        Answering Paragraph 52 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             53.        Answering Paragraph 53 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             54.        Answering Paragraph 54 of the Complaint, Navient Corp. admits that Plaintiff

and Plaintiff’s counsel purport to not be aware of any other pending actions against Navient

Corp. Navient Corp. denies that any class could be certified in this action.


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             55.        Answering Paragraph 55 of the Complaint, Navient Corp. denies the allegations

set forth therein.

                                        V.     CAUSES OF ACTION

                                                  COUNT I

                                       DECLARATORY JUDGMENT

             56.        Answering Paragraph 56 of the Complaint, Navient Corp. incorporates its

responses to the allegations in Paragraphs 1 through 55, inclusive, as if fully set forth herein.

             57.        Answering Paragraph 57 of the Complaint, Navient Corp. admits that Plaintiff

purports to bring this action for declaratory judgment, but denies any and all violations, liability

and/or damages.

             58.        Answering Paragraph 58 of the Complaint, Navient Corp. denies the allegations

set forth therein.

                                                 COUNT III

                                      FDCPA VIOLATIONS: CLASS I

             59.        Answering Paragraph 59 of the Complaint, Navient Corp. incorporates its

responses to the allegations in Paragraphs 1 through 58, inclusive, as if fully set forth herein.

             60.        Answering Paragraph 60 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             61.        Answering Paragraph 61 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             62.        Answering Paragraph 62 of the Complaint, Navient Corp. denies the allegations

set forth therein.




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                                                 COUNT IV

                        VIOLATIONS OF MCALA, MCDCA AND MCPA: CLASS II

             63.        Answering Paragraph 63 of the Complaint, Navient Corp. incorporates its

responses to the allegations in Paragraphs 1 through 62, inclusive, as if fully set forth herein.

             64.        Answering Paragraph 64 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             65.        Answering Paragraph 65 of the Complaint, Navient Corp. denies the allegations

set forth therein.

                                                  COUNT V

                                    UNJUST ENRICHMENT: CLASS II

             66.        Answering Paragraph 66 of the Complaint, Navient Corp. incorporates its

responses to the allegations in Paragraphs 1 through 65, inclusive, as if fully set forth herein.

             67.        Answering Paragraph 67 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             68.        Answering Paragraph 68 of the Complaint, Navient Corp. states that the

allegations do not pertain to Navient Corp., and to the extent not expressly admitted, Navient

Corp. denies the allegations set forth therein.

             69.        Answering Paragraph 69 of the Complaint, Navient Corp. states that the

allegations do not pertain to Navient Corp., and to the extent not expressly admitted, Navient

Corp. denies the allegations set forth therein.

             70.        Answering Paragraph 70 of the Complaint, Navient Corp. states that the

allegations do not pertain to Navient Corp., and to the extent not expressly admitted, Navient

Corp. denies the allegations set forth therein.


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             71.        Answering Paragraph 71 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             72.        Answering Paragraph 72 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             73.        Answering Paragraph 73 of the Complaint, Navient Corp. denies the allegations

set forth therein.

                                                 COUNT VI

                                               CONSPIRACY

             74.        Answering Paragraph 74 of the Complaint, Navient Corp. incorporates its

responses to the allegations in Paragraphs 1 through 73, inclusive, as if fully set forth herein.

             75.        Answering Paragraph 75 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             76.        Answering Paragraph 76 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             77.        Answering Paragraph 77 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             78.        Answering Paragraph 78 of the Complaint, Navient Corp. denies the allegations

set forth therein.

             79.        Answering Paragraph 79 of the Complaint, Navient Corp. denies the allegations

set forth therein.

                                    DEFENDANT’S GENERAL DENIAL

             To the extent not expressly admitted herein, Navient Corp. denies all of the allegations in

Plaintiff’s Complaint.


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                                       AFFIRMATIVE DEFENSES

             Without assuming the burden of proof where it otherwise lies with Plaintiff and the

supposed class members, Navient Corp. asserts the following affirmative defenses:

                                   FIRST AFFIRMATIVE DEFENSE

                                          (Failure to State a Claim)

             The Complaint fails to set forth facts sufficient to state a claim against Navient Corp.

                                  SECOND AFFIRMATIVE DEFENSE

                                                  (Estoppel)

             The Complaint is barred, in whole or in part, by the conduct of Plaintiff and the supposed

class members, which amounts to and constitutes an estoppel of the claims and any relief sought

thereby.

                                   THIRD AFFIRMATIVE DEFENSE

                                                  (Waiver)

             The Complaint, and each purported claim alleged therein, is barred by the conduct of

Plaintiff and the supposed class members, which amounts to and constitutes a waiver of any right

or rights that Plaintiff and the supposed class members may or might have in relation to the

matters alleged in the Complaint.

                                  FOURTH AFFIRMATIVE DEFENSE

                                             (Failure to Mitigate)

             To the extent that Plaintiff and the supposed class members have suffered any damages as

a result of the matters alleged in the Complaint, which Navient Corp. denies, Plaintiff and the

supposed class members failed to mitigate those damages, and the claims therefore are barred, in

whole or in part.


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                                   FIFTH AFFIRMATIVE DEFENSE

                                            (Intervening Cause)

             Navient Corp. alleges, based upon information and belief, that Plaintiff and the supposed

class members’ alleged injuries, if any, were proximately and solely caused by an independent

and/or intervening cause or causes, for whom or for which Navient Corp. is neither liable nor

responsible.


                                   SIXTH AFFIRMATIVE DEFENSE

                                            (Lack of Standing)

             The asserted claims are barred in whole or in part to the extent that Plaintiff and the

supposed class members did not suffer an injury in fact based on any conduct by Navient Corp.

                                SEVENTH AFFIRMATIVE DEFENSE

                                          (Reservation of Rights)

             Navient Corp. expressly reserves the right to assert such other and further affirmative

defenses as may be appropriate.

                                     DEMAND FOR JURY TRIAL

             Navient Corp. demands a trial by jury on all counts.




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Dated: March 20, 2018                           Respectfully submitted,




                                                By:   /s/ Geoffrey M. Gamble
                                                      Geoffrey M. Gamble, Bar No. 28919
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                                                      Attorneys for Defendant
                                                      NAVIENT CORPORATION




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on March 20, 2018, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which sent an electronic notice to the
following:

Douglas N. Gottron
dgottron@morrispalerm.com
Terry E. Morris
tmorris@morrispalerm.com
MORRIS PALERM, LLC
2 Barrister’s Place
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Rockville, Maryland 20852

ATTORNEYS FOR PLAINTIFF

                                             /s/ Geoffrey M. Gamble
                                             ATTORNEY FOR DEFENDANT
                                             NAVIENT CORPORATION




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